Case 2:03-CV-02044-BBD-STA Document 98 Filed 08/24/05 Page 1 of 3 Page|D 91

IN THE UNITED STATES DISTRICT COURT FHH§QV_A&; UC_

FOR THE WESTERN DISTRICT OF TENNESSEE

wEsTERN DIvIsIoN 95 AUG 214 P!'i !2= 36

 

 

ASAD EL-AMIN MUJIHADEEN,
Plaintiff,
vs. No. 03-2044-D/An

TENNESSEE BOARD OF PROBATION
AND PAROLES, et al. ,

Defendants.

>-<>-<>-<>-<>-<><>-<>-<>-<><><><

 

ORDER CONCERNING PLAINTIFF'S
MARCH 15, 2005 FILING

 

On March 15, 2005, plaintiff Asad El-Amin Mujihadeen,
a/k/a Ronald Turks, Tennessee Department of Correction (“TDOC”)
prisoner number 86217, an inmate at the West Tennessee State
Penitentiary (“WTSP”) in Henning, Tennessee, filed a document,
entitled “FRCP, Rule 72 Motion for a Magistrate Report and
Recommendation or in the Alternative Rule 38(b) Motion for Trial by
Jury." The defendant has not responded to this filing, and the time
for a response has expired.

There is currently no pending dispositive motion that has
been referred to a magistrate judge for a report and recommendation
and, therefore, that aspect of the plaintiff's motion is DENIED. To

the extent the plaintiff is seeking to add a jury demand, pursuant

Thls dbeumerrl<'hnter¢- . on the docket sh l /
with Ru-Ia 58 and , 9(2., . ..&H on

Case 2:03-CV-02044-BBD-STA Document 98 Filed 08/24/05 Page 2 of 3 Page|D 92

to Fed. R. Civ. P. 38(b), the Court CONSTRUES the plaintiff's
filing as such. a demand. The Clerk. is ORDERED to record the
plaintiff's jury demand on the docket. To the extent the
plaintiff’s filing constitutes a complaint about the length of time
the case has been pending, scheduling orders have been issued on
May 9, 2005; May 17, 2005; and June 7, 2005.

IT IS SO ORDERED this QEZ£H\ day Of AuguSt, 2005.

 

B RNICE B. DONALD
ITED STATES DIS'I‘RIC'I‘ JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 98 in
case 2:03-CV-02044 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Pamela S. Lorch

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

Kimberly J. Dean

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

Asad El-Amin Mujihadeen
WTSP-Henning

862 l 7

P.O. Box 1050

Henning, TN 38041

Honorable Bernice Donald
US DISTRICT COURT

